                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                            3:05CV78-MU-02
                          (3:93CR215-04-MU)


JERMAINE MAURICE PADGETT,     )
     Petitioner,              )
                              )
       v.                     )                     ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on petitioner’s “Motion

To Vacate, Set Aside, Correct Sentence” under 28 U.S.C. §2255,

filed February 22, 2005; and on the government’s “Answer To

Petitioner’s Motion To Vacate . . . And Motion To Dismiss,” filed

June 6, 2005.   For the reasons stated herein, the government’s

Motion to Dismiss will be granted; and the petitioner’s Motion to

Vacate will be dismissed as untimely filed.

                I.   FACTUAL AND PROCEDURAL BACKGROUND

     A review of pertinent Court records reflects that on October

29, 1993, a Bill of Indictment was filed, charging the petitioner

(along with eight others) with numerous federal offenses, includ-

ing multiple instances of murder, kidnapping and/or other

violence in aid of racketeering, all in violation of 18 U.S.C.

§§1959 and 2 (Counts 2, 18, 21-22, and 28-32); with one instance



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of engaging in a conspiracy to traffic in cocaine base, in

violation of 21 U.S.C. §§841(a)(1) and 846 (Count One); with one

instance of possession with intent to distribute cocaine base, in

violation of 21 U.S.C. §841(a)(1) (Count 24); and with four

separate instances of using and carrying a firearm during and in

relation to crimes of violence, all in violation of 18 U.S.C.

§§924(c)(1) and 2 (Counts 23, 25, 33 and 34).          The petitioner

pled not guilty to those and other charges which he was facing,

and eventually proceeded to trial on those matters.

     The petitioner’s trial got underway on July 22, 1994.

Thereafter, the government dismissed the charges which were set

forth against the petitioner in Counts 19, 20 and 35.            However,

on July 28, 1994, the jury convicted the petitioner of the other

15 charges as previously identified.

     On September 12, 1994, the Court held the petitioner’s Sen-

tencing Hearing.    On that occasion, the Court heard from counsel

for the parties concerning an appropriate sentence for the peti-

tioner.   At the conclusion of the Hearing, the Court sentenced

the petitioner to concurrent terms of life imprisonment for seven

of his RICO convictions.     The petitioner was sentenced to two

more terms of life imprisonment on his conspiracy and substantive

drug charges.   In addition, the petitioner was sentenced to two

concurrent 20-year terms of imprisonment for his two remaining

RICO convictions.    Then, for the first of his firearms


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convictions, the petitioner received a five year sentence; and he

received consecutive 20-year sentences for the remaining three

firearms convictions.

     Not surprisingly, the petitioner timely gave his notice of

appeal to the Fourth Circuit Court of Appeals.          Indeed, on appeal

the petitioner argued that the government had failed to establish

an interstate commerce nexus to support his federal prosecution;

that the evidence was insufficient to support his convictions;

that this Court had erred in certain of its rulings concerning

the admission of evidence and the jury instructions; and that he

had been subjected to double jeopardy by virtue of his having

been sentenced both on the RICO conspiracy and the conspiracy’s

underlying predicate acts.     See United States v. Padgett, 78 F.3d

580 (4th Cir. 1996) (unpublished).

     However, the Fourth Circuit rejected all of the petitioner’s

claims and affirmed his convictions and sentences.             Id.   In

particular, the Court of Appeals found that “[t]he evidence

against Padgett was voluminous, with witness testimony from his

co-conspirators and the victims of his crimes” Id.             The appellate

Court also found that this Court did not abuse its discretion or

otherwise commit any reversible error in connection with the

admission of evidence and the jury instructions.             Id.     Last, the

appellate Court found that the prosecution and conviction of an

individual for both the RICO conspiracy and the predicate


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offenses simply does not violate the double jeopardy prohibition.

Id.

       After being rejected by the appellate panel, the petitioner

next sought both rehearing with the appellate Court and Certi-

orari review in the United States Supreme Court.               However, the

petitioner’s efforts were unsuccessful.          Therefore, the

petitioners’s pursuit of direct review ended on July 3, 1996 when

the Supreme Court denied his Certiorari Petition.

       Nevertheless, after allowing more than nine years to pass

since the conclusion of his pursuit of direct review, on February

22, 2005, the petitioner returned to this Court with this Motion

to Vacate his 1994 convictions and sentences.            By the instant

Motion to Vacate, the petitioner argues that he was subjected to

ineffective assistance of counsel by his attorney’s alleged

failure to communicate a plea offer to him, and his failure to

make clear the risks and hazards of a jury trial.               By his other

claim, the petitioner argues that he received an unconstitutional

sentence, essentially on the basis of the ruling announced in

Apprendi v. New Jersey, 530 U.S. 466 (2000)1 and its progeny.

       Obviously aware that his Motion could be deemed time-barred,

the petitioner’s Motion also makes an attempt to explain the

reason why he waited so long to bring this action.               Indeed, the


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       Apprendi holds that any factor, other than a prior conviction, which
increases the statutory maximum term must be alleged in the indictment and
proven beyond a reasonable doubt.

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petitioner acknowledges that there is a one-year limitations

period for habeas claims such as the instant ones.           However, the

petitioner points out that pursuant to 28 U.S.C. §2255, paragraph

6, subpart (4), the one-year limitation period can be calculated

as running for one year from “the date on which the facts sup-

porting the claim . . . could have been discovered through the

exercise of due diligence.”     In reliance upon that provision, the

petitioner contends that since he filed this Motion within one

year of his February 2004 discovery of the plea offer about which

his attorney did not tell him, such Motion is not be time-barred.

     On February 24, 2005, this Court entered an Order advising

that an initial review of the petitioner’s Motion to Vacate had

been conducted; and that although it was not clear whether such

Motion was timely filed, the government still would be required

to file a response to that Motion.      In particular, the government

was told to respond both to the question of timeliness, as well

as to the merits (or lack thereof) of the petitioner’s claims.

     Consequently, after obtaining an extension of time, on June

6, 2005, the government filed its “Answer To Petitioner’s Motion

To Vacate . . . And Motion To Dismiss.”        By that combined plead-

ing, the government asserts, inter alia, that there actually was

no plea offer about which counsel could have advised the peti-

tioner.   Consequently, in the absence of that factual predicate,

there simply is no basis upon which to extend the petitioner’s


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one-year deadline.

       On June 27, 2005, the petitioner filed a “Traverse” to the

government’s Answer.      Such Traverse primarily takes issue with

the government’s erroneous assertion that the petitioner is

seeking “equitable tolling,” rather than an application of one of

the extension provisions set forth in under §2255.              Notwith-

standing the accuracy of this particular challenge by the

petitioner, the Court finds that the government is correct in its

ultimate contention that the petitioner’s Motion to Vacate has

been filed outside the one-year limitations period.              Therefore,

this matter must be dismissed as time-barred.

                               II.   ANALYSIS

       As has been alluded to, in 1996 Congress enacted the

Antiterrorism and Effective Death Penalty Act of 1996 (the

“AEDPA,” hereafter).      Among other things, the AEDPA amended 28

U.S.C. §2255 by imposing a 1-year statute of limitations period

for the filing of a motion to vacate or correct.               Such amendment

provides:

       A 1-year period of limitation shall apply to a motion under

this section.     The limitation period shall run from the latest

of–

       (1) the date on which the judgment of conviction
       becomes final;

       (2) the date on which the impediment to making a motion
       created by governmental action in violation of the
       Constitution or laws of the United States is removed,

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     if the movant was prevented from making a motion by
     such governmental action;

     (3) the date on which the right asserted was initially
     recognized by the Supreme Court and made retroactively
     applicable to cases on collateral review; or

     (4) the date on which the facts supporting the claim or
     claims presented could have been discovered through the
     exercise of due diligence.

     In the instant case, the record makes clear, and the

petitioner does not deny, that the U.S. Supreme Court rejected

his Certiorari Petition on June 3, 1996; therefore, his             convic-

tions and sentences became final on that date.           In the absence of

any intervening circumstances, the petitioner had up to June 3,

1997 in which to file the instant Motion to Vacate.              Obviously,

however, the petitioner did not file this Motion by that date.

     Rather, the petitioner waited more than an additional 7 ½

years to file this Motion.     In an attempt to have such Motion

declared timely filed, the petitioner asserts that he did not

learn of the factual predicate for a portion of one of his claims

until February 2004; therefore, he argues that his entire Motion

should be deemed timely filed since he brought it within one year

of the date he discovered such information.          However, the

petitioner’s argument is flawed, and must be flatly rejected.

     Indeed, the Court first notes that even if a portion of the

petitioner’s first claim could be deemed timely filed by virtue

of the explanation in question, that fact would have no impact on

the petitioner’s other claims.          That is, inasmuch as the

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remaining portion of the petitioner’s first claim--that counsel

failed to advise him of the potential risks and hazards of trial

--was a matter about which he clearly knew or should have known

within one year of the time that his case became final, that

claim clearly is time-barred and subject to summary dismissal in

any event.

     Similarly, in light of the fact that neither Apprendi nor

its progeny can be relied upon in this collateral proceeding, the

petitioner’s second claim is subject to summary dismissal.              See

United States v. Morris, 429 F.3d 65, 72 (4th cir. 2005) (holding

that the rule from progeny case Booker/Fanfan, 543 U.S. 220

(2005), is not retroactively applicable in a collateral review

context such as this); and United States v. Sanders, 247 F.3d

139, 145-46 (4th Cir.), cert. denied, 534 U.S. 1032 (2001)

(holding that Apprendi is inapplicable on collateral review).

See also United States v. Beatty, WL 175908 (unpublished 2004)

(noting that the holding from progeny case Blakely v. Washington,

542 U.S. 296 (2004), will not be deemed retroactively applicable

on collateral review).       Therefore, notwithstanding any timeliness

issues, the petitioner could not, in any case, prevail on his

second claim.

     Most critically, however, the Court finds that the peti-

tioner cannot rely upon paragraph 6, subpart (4) to extend his

deadline.    To be sure, even giving the petitioner the benefit of


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the doubt2 on the question of whether there actually was a “plea

offer” about which counsel should have advised him, there simply

is no reason why, with the exercise of due diligence, the peti-

tioner could not have discovered that fact long before February

2004.

      According to the petitioner, he learned of the plea offer as

a result of what appears to have been a cold call from a cousin

of his to his former attorney.        More particularly, the petitioner

reports that in or about April 2003, a cousin of his called his

former defense attorney and inquired whether there was “anything

more which could be done regarding [the petitioner’s] case.”

During that conversation, the petitioner’s former attorney

reportedly mentioned a plea offer which had been extended to and

rejected by the petitioner.

      Apparently, at some unspecified time the petitioner’s cousin

told him about the subject conversation, and the petitioner

commenced an investigation to discover the existence of such

offer.      By February 2004, the petitioner had received a letter

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       The petitioner has submitted a copy of the letter from his attorney
from February 2004 which sets forth his recollection of a “plea offer.” How-
ever, upon careful consideration of these matters, it appears that counsel’s
recollection may have been of some precatory language which never culminated
in a plea offer from the government. Indeed, also included among the docu-
ments which the petitioner submitted to the Court is a letter from the
prosecutor who handled the petitioner’s case. Such letter indicates that the
petitioner’s former attorney now claims to have no recollection of a “plea
offer,”; that no such plea offer, written or otherwise, was ever made by the
government; and that such prosecutor has “never made an oral plea offer in
[her] career as a prosecutor.” In any case, since this case is before the
Court on a Motion to Dismiss, those matters cannot be considered by the Court,
and the Court has assumed, for the sake of argument, that a plea offer was
made.

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from his attorney reporting his recollection of a “plea offer,”

but explaining that there was no written documentation anywhere

in his file to support that recollection.

     Although the petitioner focuses all of his attention on the

timing of such letter, he completely ignores the more critical

fact, i.e., that there was no reason why he, himself, could not

have made the initial inquiry of his attorney at any point before

April 2003.   Indeed, the petitioner does not allege that his

cousin somehow was better suited to have made the inquiry.               Nor

does the petitioner suggest that there is any reason why he would

not have been just as successful in contacting his former attor-

ney regarding what else could have been done in his case. Indeed,

had the petitioner chosen to make such an inquiry of counsel at

the conclusion of his direct appeal, he likely would have been

reminded of the instant collateral proceeding as an option which

he could have pursued in a timely manner.

     Based upon the foregoing, then, it can hardly be concluded

that the information upon which the petitioner is relying could

not, with the exercise of due diligence, have been discovered

before February 2004.       On the contrary, it is quite apparent that

had the petitioner exercised due diligence in inquiring about his

remaining options with counsel, he could have discovered the

subject information long before his cousin discovered it.

     Finally, although the petitioner expressly denies that he is


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seeking equitable tolling, the Court has, in any event, deter-

mined that he would not be entitled to such measures.              That is,

as the government has correctly noted, the Fourth Circuit has

stated that such measure is only allowed in “those rare instances

where-–due to circumstances external to the party’s own conduct–-

it would be unconscionable to enforce the limitations period

against the party and gross injustice would result.”              Rouse v.

Lee, 339 F.3d 238, 246 (4th Cir. 2004) (en banc), cert. denied,

125 S.Ct. 209 (2004).       See also United States v. Sosa, 364 F.3d

507, 511-13 (4th Cir. 2004); and Spencer v. Sutton, 239 F.3d 626,

630 (4th Cir. 2001) (internal quotations omitted).

     In the instant case, the petitioner does not set forth any

basis which could support a finding that it would be unconscion-

able to enforce the limitations period, or that a gross injustice

would result from such enforcement.          Therefore, equitable tolling

also is not available for the petitioner.

                             III.   CONCLUSION

     The AEDPA requires, among other things, that Motions to

Vacate under 28 U.S.C. §2255 be brought within one year of the

event which triggers the commencement of the limitations period.

In the case at bar, the petitioner has filed his Motion to Vacate

far outside of all conceivable limitations periods, and has not

demonstrated an entitlement to equitable tolling.              Consequently,

the instant Motion to Vacate must be summarily dismissed as time-


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barred.

                              IV.   ORDER

    NOW, THEREFORE, IT IS HEREBY ORDERED:

    1.    That the government’s Motion to Dismiss is GRANTED; and

    2.    That the petitioner’s Motion to Vacate is DISMISSED.

    SO ORDERED.



                                    Signed: February 16, 2006




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